8:12-cr-00282-BCB-MDN          Doc # 294    Filed: 04/29/13    Page 1 of 2 - Page ID # 608




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )            CASE NO. 8:12CR282
                                               )
                Plaintiff,                     )
                                               )
                vs.                            )           TENTATIVE FINDINGS
                                               )
MELISSA ALVAREZ,                               )
                                               )
                Defendant.                     )

       The Court has received the Presentence Investigation Report (“PSR”). The parties

adopted the PSR (Filing Nos. 280 and 282). See Order on Sentencing Schedule, ¶ 6. The

Court advises the parties that these Tentative Findings are issued with the understanding

that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines

are advisory.

       Accordingly,

       IT IS ORDERED:

       1.       The Court intends to adopt the PSR at the time of sentencing;

       2.       If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       3.       Absent submission of the information required by paragraph 2 of this Order,

these tentative findings are final; and
8:12-cr-00282-BCB-MDN       Doc # 294       Filed: 04/29/13   Page 2 of 2 - Page ID # 609




      4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 29th day of April, 2013.

                                        BY THE COURT:


                                        s/Laurie Smith Camp
                                        Chief United States District Judge




                                             2
